Case 1:19-md-02875-RMB-SAK   Document 296-8   Filed 11/18/19   Page 1 of 7 PageID:
                                   3839




                             Exhibit 8
Case 1:19-md-02875-RMB-SAK                                       Document 296-8               Filed 11/18/19             Page 2 of 7 PageID:
                                                                       3840
                                                                                                      US007880015B2


  (12) United States Patent                                                         (10) Patent No.:                 US 7,880,015 B2
         Budidet et al.                                                             (45) Date of Patent:                        Feb. 1, 2011

  (54)    PROCESS FOR THE PREPARATION OF                                         (56)                  References Cited
          ANGOTENSIN ANTAGONST                                                                   U.S. PATENT DOCUMENTS
  (75) Inventors: Sankar Reddy Budidet, Hyderabad                                       5,399.578 A * 3/1995 Buhlmayer et al. ......... 514,381
                          IN); Senthil Kumar Natarajan                                7,199,144 B2      4/2007 Rukhman et al.
                         (IN);                     al s                               7,378,531 B2      5/2008 Harel et al.
                         Hyderabad (IN); Venkata Kishore                          2006/0069268 A1       3/2006 Denni-Dischert et al.
                         Gowrabathina, Hyderabad (IN);                            2006/0258878 A1       11, 2006 Soni et al.
                         Ramesh Dandala, Hyderabad (IN);                          2008/0234490 A1        9, 2008 Sedelmeier et al.
                         Sivakumaran Meenakshisunderam,                           2.9.            A. 1 A.3. EA),     h et al.al
                                                                                                             enn-DSchert
                         Hyderabad (IN)                                           2009,01923.18 A1       7, 2009 Radet al.
  (73) Assignee: Aurobindo Pharma Ltd., Hyderabad
                         (IN)                                                                 FOREIGN PATENT DOCUMENTS
                                                                                 WO            2004/101534 A1 * 11, 2004
  (*) Notice:            Subject to any disclaimer, the term of this             WO       WO 2004f1.01534 A1 * 11, 2004
                         patent is extended or adjusted under 35                 WO       WO 2005/049587 A1 6/2005
                         U.S.C. 154(b) by 107 days.                              WO       WO 2006/058701 A1     6, 2006
                                                                                 WO       WO 2007/069271 A2        6, 2007
  (21) Appl. No.:               12/309,016
                                                                                 * cited by examiner
  (22) PCT Filed:               Jun. 29, 2007                                    Primary Examiner Susannah Chung
  (86). PCT No.:                PCT/B2007/OO1946                                 (74) Attorney, Agent, or Firm Jay R Akhave
          S371 (c)(1)                                                            (57)                     ABSTRACT
          (2), (4) Date:        Jan. 2, 2009                                     The present invention provides a method for the preparation
                                                                                 of N-(1-oxopentyl)-N-2'-(1H-tetra-zol-5-yl) 1, 1'-biphe
  (87) PCT Pub. No.: WO2008/004110                                               nyl-4-yl)methyl-L-valine (Valsartan) which comprises;
                                                                                 treating N-2'-(1-triphenylmethyl-tetra-zol-5-yl)biphenyl
          PCT Pub. Date: Jan. 10, 2008                                           4-yl)methyl-L-valine methyl ester (X) with oxalic acid or its
                                            O     O                              hydrates in a solvent to produce N-2'-(1-triph-enylmethyl
  (65)                      Prior Publication Data                               tetrazol-5-yl)biphenyl-4-yl)methyl-L-valine methyl ester
          US 2009/O281.326A1                    Nov. 12, 2009                    oxalate (Xa) and treating the compound (Xa) with a base in a
                                                                                 solvent followed by reacting with Valeryl chloride in presence
  (30)               Foreign Application Priority Data                           of base in a solvent to produce N-2'-(1-triphenylmethyl
    Jul. 3, 2006            IN                                 11497CHEA2006     tetra-zol-5-yl) 1,1"biphenyl-4-yl)methyl-N-Valeryl-L-va
     ul. 3,                (IN)     ........................                     line methyl ester (XI), de-protecting the compound (XI) using
   51) Int.
       Int. Cl.
            C
                                                                                 anhydrous acidic conditions to produce N-(1-oxopentyl)-N-
  (51)                                                                             2'-(1-H-tetrazol-5-yl) 1,1"biphenyl-4-yl)methyl-L-valine
       C07D 257/04                 (2006.01)                                     methyl ester (V) followed by treating with base in a solvent to
  (52) U.S. Cl. ...................................................... 548/2SO   produce Valsartan.
  (58) Field of Classification Search .................. 548/250
       See application file for complete search history.                                             6 Claims, No Drawings
Case 1:19-md-02875-RMB-SAK                               Document 296-8                     Filed 11/18/19             Page 3 of 7 PageID:
                                                               3841

                                                           US 7,880,015 B2
                              1.                                                                            2
           PROCESS FOR THE PREPARATION OF                                               BACKGROUND OF THE INVENTION
             ANGOTENSIN ANTAGONST
                                                                                N-(1-Oxopentyl)-N-2'-(1H-tetrazol-5-yl) 1,1'-biphe
                FIELD OF THE INVENTION                                       nyl-4-yl)methyl-L-valine, generically known as Valsartan,
                                                                             is a nonpeptide, orally active, and specific angiotensin II
                                                                             antagonist acting on the AT receptor Subtype. Valsartan is
    The present invention relates to an improved process for                 used for the treatment of hypertension and is marketed as the
  the preparation of N-(1-oxopentyl)-N-2'-(1H-tetrazol-5-yl)                 free acid under the name DIOVANR).
   1,1'-biphenyl-4-yl)methyl-L-valine of Formula I.                             Ciba-Geigy has disclosed Valsartan and its pharmaceuti
                                                                        10   cally acceptable salts for the first time in U.S. Pat. No. 5,399,
                                                                              578.
                                                           Formula I          U.S. Pat. No. 5,399,578 describes two different processes
                                             COOH                          for the preparation of Valsartan. One of these processes
        A.                                                                 involves the reaction of 4-bromomethyl-2'-cyanobiphenyl
      HN     2N                         w           CH                  15 (II) with L-valine methyl ester, followed by treatment with
                                   N'                                      Valeryl chloride to produce 2-amino-N-(2-cyanobiphenyl
                                               CH                          4-yl)methyl-2-methyl-N-Valeryl propionate (IV). Com
                             O                                             pound (IV) is treated with tri-n-butyl tin azide to give N-(1-
                                                                           oxopentyl)-N-2'-(1H-tetrazol-5-yl) 1,1"biphenyl-4-yl)
                                                    CH                     methyl-L-valine methyl ester (V), which is then hydrolyzed
                                                                           under alkaline condition to give finally Valsartan. The process
                                                                             is shown in Scheme-I below:


                       SCHEME I:



                                                                                                                                    COCH
                                                                                                                                w           CH3
                                                                                                CN                         N
                                                                                                                           H
                                                                       (i-Pr).EtN
                                                                        CHCl2                                                         CH3



                                        II                                                                       III


                                                                                                       BNChick-n-n.OCI
                                                                                                                                COCH
                                                                                                                                w           CH3
                                                                                    BuSnN      CN                          N'

                                                                                                                                      CH3
                                                                                                                       O

                                                                                                                                            CH3
                                                                                                                 IV




                                                            COOH

                                                            w
                                                             N   CH3
                                                                        CH3




                                                                        CH3
                                               Walsartan
Case 1:19-md-02875-RMB-SAK                                        Document 296-8                  Filed 11/18/19         Page 4 of 7 PageID:
                                                                        3842

                                                                      US 7,880,015 B2
                                 3                                                                4
     This patent also describes a variant of the above method          A major disadvantage of the above method is the fact that
  with using 2-cyano-4-formylbiphenyl instead of 4-bromom all the intermediates except the compound (IX) are oily sub
  ethyl-2'-cyanobiphenyl (II).                                      stances, which can not be crystallized. The final product is
     The disadvantage of the above-mentioned methods is the therefore, strongly contaminated with undesired compounds
  use of toxic tributyltinazide to build the tetrazol ring and high and requires repeated crystallization, resulting in a significant
  demands on safety in order to prevent an explosion due to the loss of yield. Further the use of expensive hydrogenating
  formation of hydrogen azide during the reaction.                  catalysts like palladium on charcoal for debenzylation is not
     According to U.S. Pat. No. 5,399.578, Valsartan can also be viable for the commercial point of view.
  prepared by reaction of 4-bromomethyl-2'-(1-triphenylmeth            WO 2004/101534 describes a variation to the above pro
  yltetrazol-5-yl)biphenyl (VI) with L-valine benzyl ester to 10 cess of preparation of Valsartan, which involves isolation of
  produce N-2'-(1-triphenylmethyltetrazol-5-yl)biphenyl-4- N-2'-(1-triphenylmethyltetrazol-5-yl)biphenyl-4-yl)me
  yl)-methyl-L-valine benzyl ester (VII), followed by treat thyvaline benzylester (VII) in the form of hydrochloride salt.
  ment with Valeryl chloride to produce N-(1-oxopentyl)-N- The hydrochloride salt is further converted to Valsartan.
    2'-(1-triphenylmethyltetrazol-5-yl) 1, 1'-biphenyl-4-yl)-          This process also Suffers with major disadvantage of low
  methyl-L-valine benzyl ester (VIII). Compound (VIII) is 15 yield and low purity of N-2'-(1-triphenylmethyltetrazoi-5-
  deprotected under acidic conditions to produce N-(1-oxopen yl)biphenyl-4-yl)methylvaline benzylester (VII), which is
  tyl)-N-2'-(1H-tetrazol-5-yl) 1,1'-biphenyl-4-yl)-methyl           the key intermediate in the preparation of Valsartan. The
  L-valine benzyl ester (IX), which is then hydrogenated in reason for such low yield is not described in any of the prior
  presence of Pd/C catalyst to give finally Valsartan. The pro art. We have now found that the reason for the low yield is that
  cess is shown in scheme II, below:                                the triphenylmethyltetraZol group is highly unstable towards

  SCHEME II:
                                                               CO2CH2Ph
              NN                                              w            CH3            NN                         CO2CH2Ph
  Ph-C-N
        /          \N                                  HN                        Ph3-C
                                                                                   3-     NS2
                                                                                              \                      V         CH
               2                                Br   Ho
                                                                    CH3                                          N
                                                             1,4-Dioxane
                                                                                                                         CH



                        VI                                                                            VII

                                                                                         Ethyl disrepair-n-no.

    N= N                                      CO2CH2Ph                                    N= N                       CO2CH2Ph
  HNNeN                                   s            CH3        1,4-Dioxane.
                                                                     1NHCI       Ph-C-N
                                                                                  3         2N                       S         CH3
                                      N                        a-                                                N

                                                 CH3                                                                     CH3
                                  O                                                                          O

                                                       CH3                                                                     CH3
                             IX                                                                       VIII

                              PoC




     NN                                       CO2CH2Ph
    1     \
  HNNeN                               N
                                          w            CH3

                                                 CH3
                                  O

                                                       CH3
                        Walsartan
Case 1:19-md-02875-RMB-SAK                            Document 296-8               Filed 11/18/19               Page 5 of 7 PageID:
                                                            3843

                                                        US 7,880,015 B2
                                  5                                                                   6
  the strong acidic conditions (hydrochloric acid) and under              ence of base in a solvent to produce N-2'-(1-triphenylm
  goes hydrolysis to generate undesired impurities, which get             ethyltetrazol-5-yl) 1,1'-biphenyl-4-yl)methyl-N-
  carried forward as impurities in Valsartan (I). Removal of              Valeryl-L-valine methyl ester (XI),
  these impurities in the final stage is often proved to be difficult
  and requires repeated crystallizations, which finally results in
  the low yield of compound of Formula I.                                                                                    Formula XI
     In the process of the present invention, we have now found                                                       COCH
  that, N-2'-(1-triphenylmethyltetrazol-5-yl)biphenyl-4-yl)
  methylvaline methyl ester (X) can be purified as its crystal
  line oxalic acid addition salt (Xa), and can be used as such to 10
  produce Valsartan of high purity and yield.
                 OBJECTIVE OF INVENTION

    The main objective of the present invention is to provide a 15
  simple and cost-effective process for the preparation of Val
  Sartan of high purity on commercial scale.                       iii) deprotecting the compound of formula (XI) using anhy
                                                                      drous acid reagent to produce N-(1-oxopentyl)-N-2'-
              SUMMARY OF THE INVENTION                                 (1H-tetrazol-5-yl) 1,1'-biphenyl-4-yl)methyl-L-valine
                                                                      methyl ester (V)
    Accordingly, the present invention provides a method for
  the preparation of N-(1-oxopentyl)-N-2'-(1H-tetrazol-5-yl)                                                           Formula V
   1,1'-biphenyl-4-yl)methyl-L-valine of Formula I.                        N                            COCH
                                                                     25     HN                             W.         CH
                                                         Formula I
                                                                                  2                    N

         /N=N                           COOH                                                                     CH
       HN                               W        CH                                                O
                                    N
                                                                     30                                               CH
                                            CH
                                O

                                                 CH                     iv) treating the compound of formula (V) with base in a
                                                                           solvent to produce N-(1-oxopentyl)-N-2'-(1H-tetrazol-5-
                                                                     35    yl) 1, 1'-biphenyl-4-yl)methyl-L-valine (I).
  which comprises;                                                         DETAILED DESCRIPTION OF THE INVENTION
  i) isolating N-2'-(1-triphenylmethyltetrazol-5-yl)biphenyl
     4-yl)methyl-L-valine methyl ester (X)                              N-2'-(1-Triphenylmethyltetrazol-5-yl)biphenyl-4-yl)
                                                                     methylvaline methyl ester (X) is prepared according to the
                                                                     40
                                                        Formula X
                                                                     process described in U.S. Pat. No. 5,399,578. N-2'-(1-triph
                                                                     enylmethyltetrazol-5-yl)biphenyl-4-yl)methylvaline methyl
                  N N                          COCH                  ester (X) is reacted with a molar equivalent of oxalic acid or
                 /    \                                              its hydrates selected from oxalic acid dihydrate in an organic
         PhC-N
                    2                      N W         CH3        45 Solvent selected from alcohols such as ethanol, n-propanol,
                                           H                         isopropanol, n-butanol, isobutanol, methylene chloride, ethyl
                                                   CH3               acetate or mixtures thereof, at a temperature of about -20°C.
                                                                     to about 70° C. and the product obtained is isolated by filtra
                                                                     tion and dried. The product obtained is purified in a solvent
                                                                  50 selected from chlorinated hydrocarbons such as methylene
                                                                     chloride, chloroform, 1,2-dichloroethane, preferably methyl
     as an oxalate salt of Formula (Xa),                             ene chloride to produce N-2'-(1-triphenylmethyltetrazol-5-
                                                                     yl)biphenyl-4-yl)methylvaline methyl ester oxalate (Xa) in
                                                                     crystalline form. It has been observed that preparation of
                                                       Formula Xa 55 oxalic acid salt of Formula (X) results in greater than 98%
                                                                     purity of product by HPLC analysis.
                                            COCH                        Treating N-2'-(1-triphenylmethyltetrazol-5-yl)biphenyl
                                           W        CH3COOH          4-yl)methylvaline methyl ester oxalate (Xa) with base
                                        N                            selected from organic bases such as triethylamine, diethy
                                        H               COOH      60 lamine, diisopropylethylamine, butylamine or inorganic base
                                                CH3                  Such as aqueous Solution of alkali metal carbonate Such as
                                                                     Sodium carbonate, Sodium bicarbonate, potassium carbonate,
                                                                     potassium bicarbonate, most preferably aqueous sodium car
                                                                     bonate in a solvent selected from methylene chloride, ethyl
                                                                  65 acetate, chloroform, carbon tetrachloride, ethylene dichlo
  ii) treating the compound of formula (Xa) with a base in a ride, toluene, etc., separating the organic layer containing
      solvent followed by reacting with Valeryl chloride in pres N-2'-(1-triphenylmethyltetrazol-5-yl)biphenyl-4-yl)me
Case 1:19-md-02875-RMB-SAK                         Document 296-8                 Filed 11/18/19             Page 6 of 7 PageID:
                                                         3844

                                                       US 7,880,015 B2
                                  7                                                                  8
  thylvaline methyl ester (X), which is further reacted with             Step  C: Preparation  of N-(1-oxopentyl)-N-2'-(1H
  Valeryl chloride in presence of base selected from diisopro            tetrazol-5-yl) 1, 1'-biphenyl-4-yl)methyl-L-valine
  pylethylamine at a temperature of about 0°C. to about 50° C.                                 methyl ester
  and isolated N-2'-(1-triphenylmethyltetrazol-5-yl) 1,1'-bi
  phenyl-4-yl)methyl-N-Valeryl-L-valine methyl ester (XI)              N-2'-(1-Triphenylmethyltetrazol-5-yl)biphenyl-4-yl)
  after washing. The trityl protecting group of N-2'-(1-triph to the mixture of methanol (1methyl
                                                                    methyl-N-Valeryl-L-valine
                                                                                                      lit)
                                                                                                             ester (100 g) was added
                                                                                                           and  isopropanol hydrogen
  enylmethyltetrazol-5-yl) 1, 1'-biphenyl-4-yl)methyl-N-            chloride  (IPA.HCl,   2.75 g; 19%   w/w)   at 20-30°C. and stirred
  Valeryl-L-valine methyl ester (XI) is removed by using acid for 5h at 0-5°C. The reaction mass was cooled             to 0-3°C. and
  reagent selected from isopropanol hydrogen chloride, metha 10 filtered off the solid by-product, trityl methyl ether.
  nol hydrogen chloride, ethanol hydrogen chloride to produce          The filtrate was concentrated completely under reduced
  N-(1-oxopentyl)-N-2'-(1H-tetrazol-5-yl) 1, 1'-biphenyl-4-         pressure and the residue dissolved in ethyl acetate (300 ml).
  yl)methyl-L-valine methyl ester (V), which is further con The reaction mixture was treated with aqueous Sodium car
  verted to Valsartan using base for hydrolysis.                    bonate solution (700 ml; 2.5% w/w) at 20-30°C. and sepa
                                                                 15 rated the aqueous layer. pH of the aqueous layer was adjusted
     The following examples illustrate the nature of the inven
  tion and are provided for illustrative purposes only and should to  8.0-8.3 with 10% w/w aqueous acetic acid and washed with
                                                                    ethyl acetate (100 ml) at 20-30°C. The aqueous layer was
  not be construed to limit the scope of the invention.             separated and acidified with 10% V/v aqueous acetic acid to
                                                                    pH 4.0. The solid product was filtered, washed with water and
                          EXAMPLE I                                 dried to yield N-(1-oxopentyl)-N-2'-(1H-tetrazol-5-yl) 1,
                                                                    1'-biphenyl-4-yl)methyl-L-valine methyl ester (47g).
       Step A: Preparation of N-2'-(1-triphenylmethyltet
        razol-5-yl)biphenyl-4-yl)methyl L-valine methyl                 Step D: Preparation of N-(1-oxopentyl)-N-2'-(1H
                           ester oxalate                                 tetrazol-5-yl) 1, 1'-biphenyl-4-yl)methyl-L-valine
                                                                 25                             (Valsartan)
     L-Valinemethyl ester hydrochloride (132.2g, 0.789 mole)           N-(1-Oxopentyl)-N-2'-(1H-tetrazol-5-yl)-1,1'-biphe
  was added to the mixture of 1-triphenylmethyl-5-4-(bro nyl-4-yl)methyl-L-valine methyl ester (19 g) was added to
  momethyl)biphenyl-2-yltetrazole (400 g, 0.717 mole) and DM water (76 ml) at 20-30° C. and reacted with 22% w/v
  N,N-dimethylformamide (400 ml) at 20-30°C. Diisopropy 30 aqueous sodium hydroxide solution (38 ml) for 5 hat 20-30°
  lethylamine (231.7 g) was added to the reaction mass at C. After completion of reaction, pH of the reaction mass was
  20-30° C. and heated to 45-50° C. The reaction mass was           adjusted to 6.5+0.2 with dilute HCl and washed with ethyl
  maintained for 16 h at 45-50° C. and concentrated under           acetate (40 ml). The aqueous phase was treated with activated
  reduced pressure. The reaction mass was dissolved in ethyl carbon (1g) at 20-30°C. and the clear filtrate obtained after
  acetate (800 ml) and washed successively with DM water 35 to      removal of carbon was acidified with dilute hydrochloric acid
  (400 ml) followed by 10% w/w aqueous sodium chloride                 pH 2.0+0.2 to precipitate the product.
  solution (200 ml) at 20-30°C. The organic layer was diluted product, The reaction mixture was cooled to 0-5°C., filtered the
  with ethyl acetate (1200 ml) and treated with oxalic acid to yield 15.3     washed with water and dried under reduced pressure
                                                                                   g of crude N-(1-oxopentyl)-N-2'-(1H-tetrazol
  dihydrate (99.5 g., 0.789 mole) at 20-30° C. The reaction 40 5-yl) 1,1'-biphenyl-4-yl)methyl-L-valine
  mixture was cooled to 0-5°C. and stirred for 1 hat O-5°C. The
                                                                                                                     (Valsartan) as a
                                                                    white  solid. The crude Valsartan
  solid product was filtered, washed with ethyl acetate and acetate to obtain pure Valsartan.           was  recrystallized from ethyl
  dried to yield N-2'-(1-triphenylmethyltetrazol-5-yl)biphe
  nyl-4-yl)methyl L-valine methyl ester oxalate (420 g).                                      EXAMPLE II
                                                                  45
      Step B: Preparation of N-2'-(1-triphenylmethyltet               Preparation of N-(1-oxopentyl)-N-2'-(1H-tetrazol
      razol-5-ylbiphenyl-4-yl)methyl-N-Valeryl-L-valine                5-yl) 1, 1'-biphenyl-4-yl)methyl-L-valine (Valsar
                         methyl ester                                                           tan)
     N-2'-(1-Triphenylmethyltetrazol-5-yl)biphenyl-4-yl)       50   N-(1-Oxopentyl)-N-2'-(1H-tetrazol-5-yl)-1,1'-biphe
  methyl-L-valine methyl ester oxalate (150 g, 0.215 mole)        nyl-4-yl)methyl-L-valine      methyl ester (45 g) produced as
                                                                  per step (C)  of Example
  was added to the mixture of toluene (450 ml) and DM water barium hydroxide solution (528  I was reacted with 15% w/v aqueous
  (300 ml), and basified with 10% w/w aqueous sodium bicar After completion of reaction, theml)           for 10 h at 20-30° C.
  bonate solution (450 ml) at 20-30°C. The organic layer was 55 tered, treated with 10% w/v dilute HCl to pH 0.5solid
                                                                                                      precipitated       was fil
                                                                                                                    to 1.5 in DM
  separated and washed successively with DM water (150 ml) water and isolated crude Valsartan.
  followed by saturated aqueous sodium chloride solution. The       The crude Valsartan was dissolved in 2.5% w/v aqueous
  organic layer was dried over anhydrous sodium sulfate and sodium         carbonate solution (460 ml) at 20°C.-30°C. and pH
  reacted with Valeryl chloride (33.7g) in the presence of N.N- was adjusted     to 5-7 with 10% w/v hydrochloric acid and then
  Diisopropylethylamine (55.6 g) at 0-5°C. The reaction mix 60 washed with methylene chloride (90 ml). The aqueous layer
  ture was stirred for 3 hat 5-10°C. and washed with DM water     was acidified with 10% w/v hydrochloric acid and the product
  (150 ml), 10% w/w sodium carbonate solution (68 ml) fol was extracted with ethyl acetate (495 ml). The organic layer
  lowed by 10% w/w aqueous oxalic acid solution (40 ml). The was separated and ethyl acetate was distilled completely
  organic phase was concentrated completely under reduced under reduced pressure at 20-60°C. The resulting solid mass
  pressure to dryness to yield N-2'-(1-triphenylmethyltetra 65 was dissolved in ethyl acetate (225 ml) at 40-50°C., cooled to
  Zol-5-ylbiphenyl-4-yl)methyl-N-Valeryl-L-valine methyl -15 to -20°C., filtered and dried to yield Valsartan (22 g,
  ester as oily mass (141.3 g)                                    99.7% purity by HPLC).
Case 1:19-md-02875-RMB-SAK                                Document 296-8                    Filed 11/18/19                Page 7 of 7 PageID:
                                                                3845

                                                               US 7,880,015 B2
                               9                                                                              10
    We claim:                                                                      (iii) deprotecting the compound of formula (XI) using acid
     1. A process for the preparation of N-(1-oxopentyl)-N-2'-                        reagent to produce N-(1-oxopentyl)-N-2'-(1H-tetra
  (1H-tetrazol-5-yl) 1, 1'-biphenyl-4-yl)methyl-L-valine of                           zol-5-yl) 1,1'-biphenyl-4-yl)methyl-L-valine methyl
  Formula I,                                                                          ester Formula (V);
                                                                Formula I
         NN                             COOH
      in 2 \                       N'
                                        w            CH
                                                          3                 10

                                             CH
                              O                                                                                                           Formula V
                                                                                       NN                             COCH
                                                     CH
                                                                            15
                                                                                    in 2 \                       N'
                                                                                                                      W          CH
                                                                                                                                      3

  which comprises:                                                                                                         CH3
    (i) treating N-2'-(1-triphenylmethyltetrazol-5-yl)biphe                                                  O
       nyl-4-yl)methyl-L-valine methyl ester Formula (X)                                                                         CH3

                                                                Formula X
                   NN                             COCH
                        V
                                                 W             CH           25
                                             N
                                             H                                     (iv) treating the compound of formula (V) with base in a
                                                          CH                          solvent to produce N-(1-oxopentyl)-N-2'-(1H-tetra
                                                                                      zol-5-yl) 1,1'-biphenyl-4-yl)methyl-L-valine For
                                                                            30        mula (I).

    with oxalic acid or its hydrates in a solvent to produce    2. A process according to claim 1, wherein the solvent used
      N-2'-(1-triphenylmethyltetrazol-5-yl)biphenyl-4-yl)    in step (i) is selected from alcohols such as ethanol, n-pro
      methyl-L-valine methyl ester oxalate Formula (Xa), 35 panol, isopropanol, n-butanol, isobutanol, methylene chlo
                                                             ride, ethyl acetate or mixtures thereof.
                                                               Formula Xa
                                                                                 3. A process according to claim 1, wherein the base used in
                                             COCH3                             step (ii) is selected from organic bases such as triethylamine,
               /                                                            40 diethylamine, diisopropylethyl amine, butylamine or inor
    PhC-N          2N                        w                CHCOOH
                                        N'                                     ganic base Such as aqueous solution of alkali metal carbonate
                                        H                       COOH
                                                     CH                        Such as Sodium carbonate, sodium bicarbonate, potassium
                                                                               carbonate, potassium bicarbonate, most preferably aqueous
                                                                            45   Sodium carbonate.

                                                                       4. A process according to claim 1, wherein the solvent used
    (ii) treating the compound of Formula (Xa) with a base in in step (ii) is selected from methylene chloride, ethyl acetate,
       a solvent followed by reacting with Valeryl chloride in 50 chloroform, carbon tetrachloride, ethylene dichloride, tolu
       presence of base in a solvent to produce N-2'-(1-triph CC.
       enylmethyltetrazol-5-yl) 1, 1'-biphenyl-4-yl)methyl
       N-Valeryl-L-valine methyl ester Formula (XI),                   5. A process according to claim 1, wherein the acid reagent
                                                                    used in step (iii) selected from isopropanol hydrogen chlo
                                                      Formula XI 55 ride, methanol hydrogen chloride, ethanol hydrogen chloride.


                 /
                  N N                         COCH3
                                                                       6. A process according to claim 1, wherein the base used in
        PhC-N 2 N                            w        CH3           step  (iv) is selected from aqueous alkali and alkaline earth
                                           N
                                                                 60 metal hydroxides Such as sodium, potassium, or barium
                                                  CH3               hydroxide.
                                        O

                                                               CH3
